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                         IN THE UNITED STATED DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


  SYMBOLOGY INNOVATIONS, LLC          §
                                      §
         Plaintiff,                   §                Case No: 2:15-cv-01169-RWS-RSP
                                      §
  vs.                                 §                LEAD CASE
                                      §
  ADAMS EXTRACT                       §
                                      §
         Defendants.                  §
  ___________________________________ §
                                      §
  SYMBOLOGY INNOVATIONS, LLC          §
                                      §
         Plaintiff,                   §                Case No: 2:15-cv-01867-JRG-RSP
                                      §
  vs.                                 §                CONSOLIDATED CASE
                                      §
  J.D. POWER & ASSOCIATES             §
                                      §
         Defendants.                  §
  ___________________________________ §

    UNOPPOSED MOTION TO DISMISS DEFENDANT J.D. POWER & ASSOCIATES
                           WITH PREJUDICE

         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff Symbology

  Innovations, LLP (“Symbology”) files this Unopposed Motion to Dismiss Defendant J.D. Power

  & Associates With Prejudice.

         Wherefore, Plaintiff moves this Court to dismiss this action and all claims by and between

  parties with prejudice, with each party to bear its own costs, attorneys’ fees and other litigation

  expenses and request that the Court enter the proposed order of dismissal submitted herewith.
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  Dated: March 30, 2016                        Respectfully submitted,


                                               /s/ Jay Johnson
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                                               State Bar No. 11547550
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                               CERTIFICATE OF CONFERENCE

  The undersigned certifies that on March 30, 2016, counsel for Plaintiff met and conferred with
  counsel for Defendant and that counsel for Defendant agreed to the motion.

                                               /s/ Jay Johnson
                                               Jay Johnson

                                  CERTIFICATE OF SERVICE

  This is to certify that a true and correct copy of this document has been served on all counsel of
  record via electronic mail through Local Rule CV-5(a) on March 30, 2016.

                                               /s/ Jay Johnson
                                               Jay Johnson
